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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION


 SONWEST CO.,                                 §
     Plaintiff,                               §
                                              §
 v.                                           § CIVIL ACTION NO. 1:20-CV-842-
                                              § RP
 J. TERRON EVERTSON, in his                   §
 official capacity as Williamson County       §
 Engineer,                                    §
         Defendant.                           §


_________________________________________________

                  ORDER ON MOTION TO WITHDRAW
________________________________________________________________________

       ON THIS DAY, the Court considered the Plaintiff’s Motion for Withdrawal of Co-

Counsel for Defendant J. Terron Evertson. The Court is of the opinion that the same should

be in all things granted.

       IT IS THEREFORE ORDERED that Daniel J. Olds is withdrawn as counsel in this

matter and is hereby discharged from any further responsibility or action in this file.

       SIGNED THIS ____, day of __________, 2021.



                                              JUDGE PRESIDING




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